              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
            CRIMINAL CASE NO. 2:12-cr-00033-MR-DLH-1


UNITED STATES OF AMERICA )
                            )
         vs.                )                         ORDER
                            )
GLENN ASHE.                 )
___________________________ )

      THIS MATTER is before the Court on the Defendant’s pro se letters

to the Clerk of Court requesting the release of a truck and other personal

property which was allegedly seized by the Government. The Defendant

also states in his letters that he would like to file a motion challenging his

sentence. [Docs. 180, 191].

      The Clerk of Court cannot act upon letters submitted by parties. If the

Defendant wishes to seek affirmative relief from the Court, he should do so

by filing an appropriate motion.

      IT IS, THEREFORE, ORDERED that the Clerk of Court is respectfully

directed to return the Defendant’s letters [Docs. 180, 191] to the Defendant

along with a copy of this Order.

      IT IS SO ORDERED.               Signed: May 15, 2014




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